  6:12-cr-00032-RAW           Document 258         Filed in ED/OK on 10/02/12         Page 1 of 3



            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA



 UNITED STATES OF AMERICA,

                 Plaintiff,

 v.
                                                     Case No. CR-12-032-RAW
 JOHN MARK KEYS,

                 Defendant.




                                              ORDER

       This matter came on for pretrial conference on September 20, 2012. At that hearing, the

court heard argument from the Government and Defendant regarding the Government’s motion

to correct the Superseding Indictment [Docket No. 233]. The Government requests it be allowed

to strike “Crack” from the introduction of Count Three and “base” from the description of the

controlled substance identified in the body of Count Three. The Government states that deleting

those words is a matter of form and will not broaden the possible bases for conviction beyond

those presented to the grand jury.

       The court may only amend an indictment as to matters of form, “such that the revised

indictment states an offense and gives the defendant notice of the charges he must be prepared to

meet.” United States v. Cook, 745 F.2d 1311, 1316 (10th Cir. 1984). “An amendment of form

and not of substance occurs when the defendant is not misled in any sense, is not subjected to any

added burdens, and is not otherwise prejudiced.” Id. “The substance of the charge is ‘every fact

which must be proved to make the act complained of a crime . . . and . . . all else . . . is formal.’”
  6:12-cr-00032-RAW           Document 258        Filed in ED/OK on 10/02/12          Page 2 of 3



Id. “Prejudice to the defendant must be found before an amendment will be impermissible.” Id.

       Defendant is charged in count three with a violation of 21 U.S.C. § 841(a)(1). That

statute states that it is unlawful for “any person to knowingly or intentionally . . . possess with

intent to distribute, a controlled substance.” 21 U.S.C. § 841(a)(1). Defendant is not charged

with any particular drug quantity. “Proof of everything in the indictment is not required. When

the language of the indictment goes beyond alleging the elements of the offense, it is mere

surplusage and such surplusage need not be proved.” United States v. Harper, 579 F.2d 1235,

1239 (10th Cir. 1978).

       In this case, the requested amendment is merely a matter of form. It is the correction of a

scrivener’s error to a portion of Count Three that does not change what the Government must

prove. Defendant has not been misled in any sense, is not subjected to any added burdens, and is

not otherwise prejudiced. The court also notes that in a similar case, the Fourth Circuit held that

“the district court’s deletion of the word ‘base’ was merely a matter of form and did not

‘broaden[] the possible bases for conviction beyond those presented by the grand jury.’” United

States v. Johnson, 258 Fed.Appx. 510, 511 (4th Cir. 2007).

       For these reasons as well as the reasons stated by the Government’s in its motion and at

the pretrial conference, the Government’s motion to correct the Superseding Indictment [Docket

No. 233] is hereby GRANTED.

       Additionally, it is clear from the Government’s responses to Defendant’s first motion to

compel the Government to retain and produce all drug evidence [Docket No. 222] and his motion

to compel early compliance by the Government of Jencks Act and witness statements [Docket

No. 224] that those motions are MOOT. Of course, if they become an issue, Defendant may re-



                                                  2
  6:12-cr-00032-RAW          Document 258        Filed in ED/OK on 10/02/12        Page 3 of 3



urge those motions. As to Defendant’s motion to strict surplusage [Docket No. 223], that motion

is hereby GRANTED in part and DENIED in part. For the reasons stated in the Government’s

response to Defendant’s motion, under “Overt Acts of the Conspiracy” in the Superseding

Indictment, paragraph 3 will be stricken, but paragraphs 4, 7, 10, 11, 12, 13 and 14 shall remain.

         It is so ORDERED this 2nd day of October, 2012.



Dated this 2nd day of October, 2012.


J4h4i0




                                                 3
